         Case 2:16-cv-03799-DJH Document 46 Filed 08/22/17 Page 1 of 3



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 7
                                     UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF ARIZONA
 9 HKB, Inc., an Arizona Corporation,           No. 2:16-cv-03799
   dba Southwest Industrial Rigging,            No. 2:17-cv-00198
10
                         Plaintiff,             NOTICE OF NO OPPOSITION RE:
11
   v.                                           MOTION FOR SUMMARY JUDGMENT
12                                              (NO FIDUCIARY DUTY)
   Board of Trustees for the Southwest
13 Carpenter’s Southwest Trust; et al.,
14                       Defendants.            (Assigned to the Honorable Diane J.
   Board of Trustees for the Southwest          Humetawa)
15 Carpenter’s Southwest Trust; et al.,
16                       Plaintiffs,
17 v.
18 HKB, Inc., an Arizona Corporation,
   dba Southwest Industrial Rigging, et
19 al.
20
                        Defendants.
21
22
              The deadline for the Funds to object to the Employees’ motion for summary
23
     judgment (Doc #42) was July 26, 2017. The Funds did not object to the motion because
24
     they agree the motion should be granted: “We agree that your position (as set forth in
25
     your Motion) that the Individual Defendants are not fiduciaries within the meaning of
26
     29 U.S.C. § 1002(21)(A), was well taken.”1 The Employees respectfully ask the Court
27
28   1
         Email from Thomas Davis to James Holland (8/21/17), attached as Exhibit A.

     CORE/3008422.0002/134698390.1
       Case 2:16-cv-03799-DJH Document 46 Filed 08/22/17 Page 2 of 3




 1 to grant the motion.
 2            RESPECTFULLY SUBMITTED 22nd day of August 2017.
 3                                         STINSON LEONARD STREET LLP
 4                                   By:   /s/ James E. Holland, Jr.
 5                                         James E. Holland, Jr.
                                           Javier Torres
 6                                         1850 North Central Avenue, Suite 2100
                                           Phoenix, Arizona 85004-4584
 7                                         Attorneys for Defendants
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                                        CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on August 22, 2017 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
 4
     notice of the electronic filing to:
 5
 6                                               Daniel Shanley
                                               DeCarlo & Shanley
 7                                   533 South Freemont Avenue, Ninth Floor
                                       Los Angeles, California 90071-1706
 8                                          dshanley@deconsel.com
 9
10
11                                                   /s/ Celia Munguia

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